Case 0:21-cr-60136-RAR Document 1 Entered on FLSD Docket 05/19/2021 Page 1 of 5
                                                                                       FILEDuy KS          n.c.

                                                                                           May 18,2021
                             UNITED STATES DISTRICT COURT                                  ANGELAE.NOBLE
                             SOU TH ERN D ISTR ICT O F FLOR ID A                       .   CL ERoF
                                                                                           s-p. KU/u
                                                                                                   Sà.
                                                                                                     DI
                                                                                                      -S
                                                                                                       vTll
                                                                                                       r  .
                                                                                                          gCE
                                                                                                            T;
                                                                                                           tr
                                                                                                            wl
                     21-60136-C R-R U IZ/STRA USS
                            CA SE N O .
                                        21U.S.C.j841(a)(1)
                                        21U.S.C.j853
   UNITED STATES OF AM ERICA

   VS.


   JEFFREY CLA RK W ARR EN,

                         Defendant.
                                        /

                                            INDICTM ENT

          The Grand Jury chargesthat:

                                           C O UN T 1
                   Possession with Intentto D istribute a Controlled Substance
                                      (21U.S.C.j841(a)(1))
          On oraboutFebruary 6,2020,in BrowardCounty,in theSouthern DistdctofFlorida, the

   defendant,

                                  JEFFREY CLARK W ARREN,

   did knowingly and intentionally possess with intent to distribute a controlled substance, in

   violationofTitle21,UnitedStatesCode,Section841(a)(l).
          Ptzrsuantto Title21,United StatesCode,Section 841(b)(1)(A),itisfurtherallegedthat
   thisviolation involved 50 grnm sorm ore ofm etham phetam ine, a Schedule 11controlled substance.
Case 0:21-cr-60136-RAR Document 1 Entered on FLSD Docket 05/19/2021 Page 2 of 5




                                            C OUN T 2
                   Possession w ith Intentto Distribute a Controlled Substance
                                      (21U.S.C.j841(a)(1))
          0n oraboutFebruary 12,2020,in Broward County,intheSouthem DistrictofFloridw the

   defendant,

                                 R FFREY CLAR K W AR REN ,

   did knowingly and intentionally possess with intentto distribute a controlled substance,in

   violationofTitle21,UnitedStatesCode)Section 841(a)(1).
          PmsuanttoTitle21,UnitedStatesCode,Sedion 841(b)(1)(A),itisfurtheralleged that
   thisviolationinvolved 50 grnm sormoreofmethamphdam ine,aSchedule11controlledsubstmwe.

                                FO RFEITURE A LLEG ATION S

                 Theallegationsofthislndictm entarehereby re-alleged and bythisreferencefully

   incorporatedherein forthepmposeofallegingforfeituretotheUnitedStatesofAmericaofcertain

   property in which the defendant,JEFFREY C LA RK W AR REN,has an interest.

                 Upon convictionofaviolationofTitle21,UnitedStatesCode,Sections841(a)(1),
   as alleged in tM s Indictm ent,the defendantshall forfeitto the United States any property

   constituting,or derived from,any proceeds obtained,directly or indirectly,as a resultofsuch

   offense, and any property used, or intended to be used,in any m arm er or part, to com m it or

   facilitatethecommission ofsuch offense,pursuanttoTitle2l,UnitedStatesCodea Section 853.
Case 0:21-cr-60136-RAR Document 1 Entered on FLSD Docket 05/19/2021 Page 3 of 5




         Al1pursuantto theproceduressetforth atTitle 21,United StatesCode, Section 853,as

   incoporatedbyTitle28,UnitedStatesCode,Section2461(c).




                                                A TRU E BILL



                           e
                                                Pbrspn3isox

   JUAN AN T N I0 GON ZA LEZ
   ACTINO UNITED ST      S ATTORNEY

              *
   J M ES M . STY N S
   A SSISTANT UNIT    TATES ATTORNEY
Case 0:21-cr-60136-RAR Document 1 Entered on FLSD Docket 05/19/2021 Page 4 of 5

                                          IJNITED STATES DISTRICT COURT
                                         SO UTHERN DISTRICT O F FLO RIDA

UNITED STATES OF AM ERICA                                  CASE NO.
 V.
JEFFREY CLARK W ARREN,                                     CERTIFICATE O F TRIAL ATTO RNEY.
                                                           Superseding CaseInformation:
                     Defendant                /

CourtDivisiop:(selectone)                                  New defendantts)          Yes           No
       M iaml             Key W est                        Numberofnew defendants
 z     FTL                W PB        F'I'P                Totalnumberofcounts

                1have carefully considered the allegationsoftheindictment,the numberofdefendants,thenumberof
                probablewitnessesand thelegalcomplexitiesofthelndictment/lnformation attachedhereto.
       2.       lam aware thatthe information supplied on this statementwillbe relied upon by theJudges ofthis
                Courtin setting theircalendarsand scheduling criminaltrials underthe mandateofthe Speedy Trial
                Act,Title28 U.S.C.Section3161.
                Interpreter:     (YesorNo)            No
                Listlanguage and/ordialect
                Thiscasewilltake 3-4 daysforthepartiestotry.
                Pleasecheck appropriatecategory and typeofofense listed below:
                (Checkonlyone)                                    (Checkonlyene)
        I       0to 5 days                                        Petty
        11      6to 10 days                                       M inor
        II1     11to 20 days                                      M isdem .
        IV      21to 60 days                                      Felony             /
        V       61daysand ovcr
        6.      HasthiscasepreviouslybeenfiledinthisDistrictCourt?                 (YesorNo)       No
         Ifyes:Judge                                       CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeentiledinthismatter?               (YesorNo)        N0
         Ifyes:MajistrateCaseNo.                  '
         Relatedm lscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)                  No
                Doesthiscaseoriginatefrom amatterpending in theCentralRegion oftheU.S.Attorncy'sOffice
                priortoAugust9,20l3(Mag.JudgeAlicia0.Valle)?                       Yes             No z'
        B.      Doesthiscaseoriginatefrom a matterpending intheNorthern Region ofthe U.S,Attorney'sOftice
                priortoAugust8,2014(Mag.JudgeShaniekMaynard)?                      Yes             No #'
        9.      Doesthiscaseoriginatefrom a matterpending inthe CentralRegion ofthe U.S.Attorney'sOffice
                priortoOctober3,2019(Mag.JudgeJaredStrauss)?                        Yes            No z
                                                                                               e

                                                                       ES M . S N S
                                                                   A SSISTAN T UN ITE TATES ATTO RN EY

 #penaltySheetts)attached                                                                                  REV61512*2Q
Case 0:21-cr-60136-RAR Document 1 Entered on FLSD Docket 05/19/2021 Page 5 of 5




                            UNITED STATES DISTRICT COURT
                            SO U TH ERN DISTRICT OF FLO RIDA

                                      PENALTY SH EET

   Defendant'sNam e:     JEFFREY CLAQK W ARREN
   Counts#:1-2

   Possçqsion withIntentto DistributeaControlled Substance

   Title21,UnitedStatesCode,Section 841(a)(1)
   M ax.Penalty:

   Life Imprisonment with M andatory M inimllm 10 Years' Imprisonment; $10,000,000 Fine;
   Supervised Releaseof5 Yearsup to Life.

   WRefersonly to possible term ofincarceration, doesnotinclude possiblefines,restitution,
   specialassessm ents,parole term s,or fodeituresthatm ay be applicable.
